     Case 2:24-cr-00576-FLA   Document 1   Filed 10/01/24   Page 1 of 4 Page ID #:1



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 7                            UNITED STATES DISTRICT COURT

 8                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

 9                                June 2024 Grand Jury

10   UNITED STATES OF AMERICA,                 2:24-CR-00576-FLA
                                              CR No.

11             Plaintiff,                     I N D I C T M E N T

12             v.                             [18 U.S.C. § 922(a)(1)(A):
                                              Engaging in the Business of
13   CHRISTIAN FORBES,                        Dealing Firearms Without a
       aka “Bus,”                             License; 18 U.S.C. § 924, 28
14                                            U.S.C. § 2461(c): Criminal
               Defendant.                     Forfeiture]
15

16         The Grand Jury charges:
17                             [18 U.S.C. § 922(a)(1)(A)]
18         Beginning on or before January 5, 2022, and continuing through
19   on or about March 23, 2022, in Los Angeles County, within the Central
20   District of California, defendant CHRISTIAN FORBES, also known as
21   “Bus,” not being licensed as an importer, manufacturer, or dealer of
22   firearms, willfully engaged in the business of dealing in firearms,
23   specifically, the sale of the following firearms, on or about the
24   following dates:
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     Case 2:24-cr-00576-FLA   Document 1   Filed 10/01/24   Page 2 of 4 Page ID #:2



 1

 2   DATE             FIREARM(S)
     January 5,       A Smith & Wesson, model M&P 45, .45 caliber
 3   2022             semiautomatic pistol, bearing serial number
 4                    DTA9701.

 5   January 12,      A Bersa, model 383, .380 caliber semiautomatic
     2022             pistol, bearing serial number 149497.
 6

 7   February 2,      An assault rifle of unknown caliber, bearing no
     2022             serial number (commonly referred to as a “ghost
 8
                      gun”).
 9
     March 10,        A Taurus, model G2S, 9mm caliber semiautomatic
10   2022             pistol, bearing serial number TLU20146.
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     Case 2:24-cr-00576-FLA   Document 1   Filed 10/01/24   Page 3 of 4 Page ID #:3



 1                               FORFEITURE ALLEGATION

 2               [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3         1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1), and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offense set forth in this Indictment.

 9         2.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   All right, title, and interest in any firearm or

12   ammunition involved in or used in such offense; and

13              (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16         3.   Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 28, United States Code, Section 2461(c), the

18   convicted defendant shall forfeit substitute property, up to the

19   value of the property described in the preceding paragraph if, as the

20   result of any act or omission of said defendant, the property

21   described in the preceding paragraph or any portion thereof (a)

22   cannot be located upon the exercise of due diligence; (b) has been

23   transferred, sold to, or deposited with a third party; (c) has been

24   placed beyond the jurisdiction of the court; (d) has been

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     Case 2:24-cr-00576-FLA   Document 1   Filed 10/01/24     Page 4 of 4 Page ID #:4



 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3                                               A TRUE BILL
 4

 5                                               /S/
                                                 Foreperson
 6

 7   E. MARTIN ESTRADA
     United States Attorney
 8

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10
     MACK E. JENKINS
11   Assistant United States Attorney
     Chief, Criminal Division
12
     KEVIN J. BUTLER
13   Assistant United States Attorney
     Acting Chief, Violent & Organized
14   Crime Section
15   JENA A. MACCABE
     Assistant United States Attorney
16   Violent & Organized Crime Section
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